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                                             Clerk, U.S. District Court, ILCD




                                           Identities of attorney-
                                           employees of DOJ
                                           Office of the Inspector
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                                        Lack of relevance: potential
                                        internal government
                                        investigations; no reference
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                                          Lack of relevance: potential
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                                government investigations; no reference to
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                            DOJ personnel matters; lack of relevance
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                                                    Privacy: direct-dial
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                                Attorney work product on pending litigation;
                                DOJ personnel matters; lack of relevance
                                (no reference to communications between
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